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Attorney for Defendant
      Gennady Babitchenko

                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,                     Case No. 1:18-CR-00258-EJL

                             Plaintiff,        OBJECTION TO MOTION FOR
                                               COMPLEX CASE DESIGNATION
 v.                                            AND TRIAL CONTINUANCE

 GENNADY BABITCHENKO,

                             Defendant.


       COMES NOW, the Defendant, GENNADY BABITCHENKO, through counsel,

Dartanyon G. Burrows of the firm Massoth & Burrows, and submits the following

Objection to Motion for Complex Case Designation and Trial Continuance.

       Defendant objects to the Governments motion to designate this case as complex

and similarly opposes the requested continuance. (Dkt. No. 134). Defendant opposes a

continuance of more than 90 days.

       DATED This 22nd day of October, 2018.

                                          MASSOTH & BURROWS

                                          By         /s/
                                                 DARTANYON G. BURROWS

OBJECTION TO MOTION FOR COMPLEX CASE DESIGNATION AND TRIAL
CONTINUANCE - 1
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                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 22nd day of October, 2018, I filed the foregoing
sealed document electronically through the CM/ECF system.

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OBJECTION TO MOTION FOR COMPLEX CASE DESIGNATION AND TRIAL
CONTINUANCE - 2
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                                        /s/
                                    DARTANYON G. BURROWS




OBJECTION TO MOTION FOR COMPLEX CASE DESIGNATION AND TRIAL
CONTINUANCE - 3
